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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

 MARIA A. TABRAUE,

                          Plaintiff,
 v.

 BANESCO USA,
 a Florida Corporation,

                   Defendant.
 _____________________________________________/

                                           COMPLAINT

        COMES NOW Plaintiff MARIA A. TABRAUE and states as follows:

                                         INTRODUCTION

        1.      This is a Complaint pursuant to the Fair Labor Standards Act (FLSA) 29 U.S.C. §

 201 (2014), et seq., for the recovery of unpaid overtime wages, liquidated damages, attorney's

 fees, and costs. The Plaintiff is a former employee of the Defendant, and seeks recovery of

 overtime pay which was due to her but has remained unpaid. Defendant willfully failed to

 compensate Plaintiff for overtime pay when it failed to pay Plaintiff for all time worked and

 failed to pay overtime at a rate of one and one half times the regular rate of pay for all hours

 worked over 40 during any given week.

        2.      Plaintiff seeks recovery of the accumulated unpaid overtime for the entire three

 (3) years prior to December 31, 2013.
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                                                JURISDICTION

        3.     This action is brought to recover from the defendant unpaid overtime

 compensation, an additional equal amount as liquidated damages, and reasonable attorney’s fees

 under the provisions of the Fair Labor Standards Act, 29 U.S.C § 201 et seq., a law of the

 United States regulating interstate commerce

        4.     This court has jurisdiction over this matter under 28 U.S.C. §§ 1331, 1337.

                                                 PARTIES

        5.       The Plaintiff to this action is identified as follows:

                     a)        At all relevant times hereto, Plaintiff, MARIA A. TABRAUE (the

                       “Plaintiff”), was a resident of Miami-Dade County, Florida.

                     b)        Plaintiff was employed by the Defendant from approximately

                       March 13, 2006 until approximately October 6, 2014.

                     c)        At all relevant times hereto, Plaintiff was entitled to the rights,

                       benefits and protections of the FLSA, and was not an exempt employee

                       under 29 U.S.C. § 213(2014).

                     d)        At all relevant times hereto, Plaintiff was a non-exempt employee

                       of Defendant who worked in excess of forty (40) hours during one (1) or

                       more weeks beginning on or after more than three (3) years prior to

                       December 31, 2013.

                     e)        Plaintiff was at all relevant times hereto employed by the

                       Defendant in an enterprise engaged in commerce or in the production of

                       goods for commerce, as defined by 29 U.S.C. § 203(s) (2014).




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                  f)          Specifically, the Plaintiff was employed as a loan operations

                       specialist by the Defendant BANESCO USA at its premises in Miami-

                       Dade County, Florida.

       6.    The corporate Defendant to this action is as follows:

             i. Defendant, BANESCO USA (the “Defendant”), is a Florida corporation,

                incorporated in Florida, and is duly authorized to conduct business in the State

                of Florida.

             ii. The corporate Defendant was and is an enterprise engaged in commerce or in

                the production of goods for commerce as defined within Sections 203(r) and

                (s) of the FLSA.

            iii. At all times material hereto, Defendant employed persons who regularly were

                and are engaged in commerce or in the production of goods for commerce,

                with the Defendant having annual gross volume of sales or business done of

                not less than Five Hundred Thousand Dollars ($500,000.00).

            iv. Upon information and belief, the Defendant was aware that it was subject to

                the provisions of the FLSA.




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                               CLAIM FOR UNPAID OVERTIME WAGES

           7.    Plaintiff incorporates and realleges paragraphs 1 through 6 as if they were fully

 restated herein including all subparts.

           8.    At all times material hereto, Plaintiff was employed by Defendant.

           9.    Defendant was the "employer" of the Plaintiff as defined in 29 U.S.C. § 203(d)

 (2014).

           10.   Plaintiff was an employee of Defendant as defined in 29 U.S.C. § 203(e)(1)

 (2014).

           11.   From approximately March 2006 until approximately October 2014, Plaintiff was

 employed by Defendant as a loan operations specialist.

           12.   During the three (3) years immediately preceding December 31, 2013, Plaintiff

 was paid on a flat rate basis, regardless of the actual number of hours worked.

           13.   In the course of employment with Defendant, Plaintiff worked the number of

 hours required of her, but was not paid for all hours worked or paid the correctly calculated time

 and one-half for all hours worked in excess of forty (40) during a work week.

           14.   Plaintiff routinely worked in excess of forty (40) hours per week during her

 employment by Defendant.

           15.   Plaintiff, as a loan operations specialist, was required to be scheduled for a

 maximum of forty (40) hours per week for each work week.

           16.   Despite her scheduled hours, Plaintiff routinely worked more than the required

 forty (40) hours per week.

           17.   Defendant knew or should have known the hours Plaintiff worked in excess of 40

 hours per week.



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        18.     Defendant employed Plaintiff for work weeks longer than forty (40) hours and

 willfully failed to compensate her for hours worked in excess of forty (40) hours a week at a rate

 of at least one and one-half times the regular rate at which she was employed, contrary to the

 requirements of 29 U.S.C. §207(a)(1) (2014).

        19.     Plaintiff is entitled to be paid for lost time during the weeks in which she worked

 in excess of forty hours per week and to be paid time and one-half of her regular rate of pay for

 each hour worked in excess of forty (40) per week.

        20.     Defendant by failing and refusing to pay the overtime wages, as provided by the

 FLSA, acted willfully and in bad faith and in reckless disregard of the provisions of the FLSA.

        21.     As a direct and proximate result of Defendant’s deliberate underpayment of

 wages, Plaintiff has been damaged in the loss of wages for overtime worked for which no

 payment was received.

        22.     Defendant acted willfully in failing to pay Plaintiff for all hours actually worked

 and her overtime compensation as required by the FLSA.

        23.     Plaintiff is seeking unpaid overtime compensation for the three (3) years

 immediately preceding December 31, 2013.

        24.     Plaintiff has retained the services of the undersigned counsel and is obligated to

 pay the firm a reasonable attorney's fee and costs incurred in this action.

        25.     Plaintiff seeks recovery of full payment of wages for all time worked such that

 she receives full payment for overtime as provided in the FLSA for the three (3) years preceding

 December 31, 2013, an equal amount in liquidated damages, any benefits tied to wages earned,

 and reasonable attorney’s fees and costs.




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         WHEREFORE, Plaintiff, MARIA A. TABRAUE, demands judgment against Defendant

 BANESCO USA as follows:(a) for compensatory damages for lost overtime compensation at the

 rate required by law, an additional equal amount as liquidated damages, any benefits tied to

 wages earned, and reasonable attorney’s fees and costs pursuant to the FLSA; and (b) for such

 other and further relief as this Court deems just and proper.

                                        DEMAND FOR JURY TRIAL

 Plaintiff demands trial by jury of all issues so triable.


 Dated: October 16th, 2014.


                                         TRUJILLO VARGAS ORTIZ GONZALEZ, LLLP
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                                          By: _________ /s/_______________
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